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UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF LOUISIANA


PRESS ROBINSON, et al., Plaintiffs,               Defendant Case No.: 3:22-CV-00211-SDD-
                                          RLB
v.
KYLE ARDOIN, IN HIS OFFICIAL CAPACITY
AS LOUISIANA SECRETARY OF STATE,


 EDWARD GALMON, SR., et al., Plaintiffs,          Defendant Case No.: 3:22-CV-00214-BAJ-
                                      RLB
v.
KYLE ARDOIN, IN HIS OFFICIAL CAPACITY
AS LOUISIANA SECRETARY OF STATE
     NOTICE OF JOINDER OF LOUISIANA LEGISLATIVE BLACK CAUCUS IN
      PLAINTIFF’S MOTION TO RECONSIDER DISMISSAL RULING AND TO
               SCHEDULE REMEDIAL PROCEEDING (ECF 372)
       Intervenor Louisiana Legislative Black Caucus joins the Motion to Reconsider Dismissal

Ruling and to Schedule Remedial Proceedings (ECF No. 372) filed on May 2, 2024 by Plaintiffs

Edward Galmon, Sr., Ciara Hart, Norris Henderson, and Tramelle Howard and joined on May 2,

2024 (ECF 376) by Plaintiffs Press Robinson, Edgar Cage, Dorothy Nairne, Edwin Rene Soule,

Alice Washington, Clee Earnest Lowe, Davante Lewis, Martha Davis, Ambrose Sims, National

Association for the Advancement of Colored People Louisiana State Conference (“Louisiana

NAACP”), and Power Coalition for Equity and Justice and give notice of their Joinder in the

Motion to Reconsider Dismissal Ruling and to Schedule Remedial Proceedings (ECF No. 372)

filed by on May 2, 2024.




                                          By Attorneys:
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                                 CERTIFICATE OF SERVICE

I do certify that on this 5th day of May 2024, the foregoing was electronically filed with the Clerk

of Court using the CM/ECF system, which gives notice of filing to all counsel of record.

                                   Stephen M. Irving
                              STEPHEN M. IRVING #07170 T.A
